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IN THE ClRCUlT COURT FOR MONTGOMERY COUNTY MARYLAND

ROSA D. PERALTA
4l16 Will Street
Capitol Heights, l\/ID 20743

Plaintift`

V. : Case No.: zlgéclg`l/
liu/go @A) 3 //¢f?@ "1

JONATHAN S. SHURBERG, PC

8720 Georgia"A\/enue

Suit€ 700

Silver Spring, MD 20910

and

JONATHAN S. SHURBERG
8720 Georgia Avenue

Suitc 700

Silver Spring, l\/ID 20910

Defendants

 

COMPLAINT

COME NOW, Plaintift`, Rosa D. Peralta (hereinafter “Peralta”), Plaintiff, by her
attorneys, Kevin J. Finnegan and Goldberg, Finnegan & Mester, LLC, sues Jonathan S.
Shurberg, PC (hereinafter “the Shurberg Law Firm”), and Jonathan S. Shurberg
(hereinatter “Shurberg”), _Def`endants, and states as follows:

l. Plaintift" Rosa D. Peralta is a resident of Capital Heights, Maryland.

2. Upon information and belief, Defendant Jonathan S. Shurberg, PC, the
Shurberg Law Firm, is a Professional Corporation located in Silver Spring and provides

legal Services in Montgomery County and the State of Maryland.

 

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3. Upon information and belief, Defendant Jonathan S. Shurberg was, at all
times relevant, an attorney practicing in l\/Iontgomery County, l\/Iaryland, and is a
partner/principal in the Shurberg haw Firm. At all times relevant7 Defendant Shurberg
was acting on behalf of the Shurberg Law Firm and, therefore, the finn is vicariously
liable for his negligent acts or omissions

4. On April ll, 2002, Plaintiff Peralta fell on a wet floor while in the Scope
of her employment with Serupples Janitorial Serviee (hereninafter “the Employer"). As a
result, Plaintiff Peralta suffered an accidental injury, including but not limited to her right
knee and low bael<.

5. Plaintiff Peralta employed Defendant Shurberg, an attorney who holds
himself out to the public as knowledgeable in handling personal injury and Worker’s
compensation aetions, to represent her in connection with the April l l, 2002 slip and fall
at work. Upon information and belief, Defendant Shurberg agreed to represent Plaintiff
in the claim and entered into an agreement with Plaintiff Peralta for compensation for his
l services

6. A Notiee of Claim was filed by Plaintiff Peralta in the Worker’s
Compensation Commission.

7. Defendant Shurberg filed a Petition For Judieial Review of the November
2002 decision of the Worker’s Compensation Commission which found that Plaintiff
Peralta did not sustain an accidental injury. The Petition was filed by Defendant
Shurberg in the Cireuit Couit for Prinee George"s County.

8. A Motion to Transfer venue was filed by the Employer. The motion was

not opposed

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9. in l\/iareh 2()03` the Circuit Court for Prinee George`s County granted the
unopposed Motion to Transfer Venue, thereby transferring the case to the Circuit Court
for Montgomery County, Maryland.

10. Defendant Shurberg was duty bound under the l\/larylarid Rules of Civil
Procedure to timely request a transmittal of the record from the Worl<er"s Compensation
Commission, but did not do so.

l l. in June 2004, the Employer filed a Motion to Dismiss the Petition because
of Defendant Shurberg’s failure to pay for and transmit the record from the Worker’s
Compensation Commission, as required by l\/Iaryland Rule 7-206.

l2. The motion was not opposed, and the Court granted the motion and
dismissed the Petition.

l3. ln .luly 2004, Defendant Shurberg filed a Motion to Alter or Amend the
ludgment. On the same day, he mailed a cheek to pay for the transcript

l4. ln September 2004, the Circuit Couit for l\/lontgomery County granted
Defendant Shurberg’s motion to alter or amend thejudgment.

15. The case was tried de novo before the Honorable Nelson W. Rupp, Jr. On
August lO, 2005, Judge Rupp reversed the Worker"s Compensation Commission’s
decision, finding that Plaintiff Peralta did indeed suffer an accidental personal injury
arising out of and in the course of her employment The Circuit Couit for Montgomery
County remanded the ease to the Worker’s Compensation Commission for further
proceedings

16. The Employer timely appealed to the Court of Speeial Appeals.

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l7. On August 29, 2006, the Court of Special Appeals, in an unreported
opinion, held that the Petition for Judicial Review was properly dismissed by the Circuit
Court in the first instance, for non~compliance of l\/Iaryland Rule 7~206, and that the
Court abused its discretion by granting Defendant Shurberg"s motion to alter or amend
that judgment Plaintiff Peralta"s rights to any compensation for her accidental injury

were extinguished

t COUNT I
(LEGAL MALPRACTICE/NEGLIGENCE)
l8. Paragraplis l through 17 are incorporated and realleged herein by
reference
19. Defendant Shurberg owed Plaintiff Peralta a reasonable duty to exercise

that degree of care and diligence in pursuing her claims as used by attorneys engaged in
the practice of law. 'l`hese reasonable duties include (l) bringing actions iii a timely
manner; (2) timely opposing motions and memorandums; (3) advising his client of her
rights to bring a claim against her prior counsel who represented her before the Worker’s
Compensation Commission', (4) advising his client of procedural requirements associated
with the filing ofa Petition for Judicial Review, including requesting and transmitting the
record from the Commission; (5) following the requirements of any of the applicable
l\/Iaryland Rules of Civil Procedure regarding the requesting and transmitting of the
record from the Worker`s Compensation Commission; and (6) advising his client of her
appellate rights

20. By failing to take action and by failing to exercise diligence in discharging
the above reference duties, including but not limited to his failure to follow the l\/Iaryland

Rules of Civil Proeedure, Defendant Shurberg breached the standards reasonably to be

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expected of a reasonably competent practitioner in his profession, and in these
eircumstanees, and by his acts and omissions as alleged herein, negligently failed to
render proper legal representation to Plaintiff Peralta.

21. With the exception of Defendant Shurberg’s negligence in failing to
follow the requirements ofthe l\/laryland Rules of Civil Procedure, Plaintiff Peralta vvould
have prevailed on her workei"s compensation claim and would have collected worker’s
compensation benefits

22. As a result of Defendant Shurberg’s negligence, Plaintiff Peralta suffered
economic loss and emotional distress

WHEREFORE, Plaintiff Peralta demands judgment against Defendant Shurberg
for compensatory damages in the amount of One Hundred Thousand Dollars ($100,000),
plus interest, costs and any and all other relief to which this Court finds her to be entitled

_C_QM_W_Q
(RESPONDEAT SUPERIOR/VICARIOUS LIABILITY)

23. Paragraphs l through 22 are incorporated and realleged herein by
reference

24. Defendant Shurberg negligent acts or omissions, as alleged herein, were
committed within the scope of his employment with the Shurberg Law Firm.

25. Defendant Jonathan S. Shurberg, PC is vicariously liable for the
negligence of their employees, servants, agents and/or contractors

26. As a result of the negligent acts or omissions of their employee/agent,
Defendant Shurberg, Plaintiff Peralta suffered economic losses and emotional distress

WHEREFORE, Plaintiff Peralta demands judgment against Defendant Jonathan

S. Shurberg, PC for compensatory damages in the amount of One Hundred Thousand

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Dol,_lars ($l00,000), plus interest, costs and any and all other relief to which this Court

finds her to be entitled

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Attorney_for the Plaintiff

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